                        IN THE UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 COLUMBIA DIVISION


DORATHEA RYE, RICKEY RYE,                   )
SANTANA SMITH, and                          )
CARL SMOTHERMAN                             )
                                            )
v.                                          )       NO. 1:16-0061
                                            )
CANDELARIO CASTILLO and                     )
SPIRIT TRUCK LINES, INC.                    )



                                          ORDER

       The Third Modified Case Management Order in this case (Docket No. 50) set a telephonic

status/case management conference for September 6, 2018. However, since the date of that order,

a Fourth Modified Case Management Order was entered (Docket No. 56) and the trial was

continued (Docket No. 57).       Accordingly, the September 6, 2018 telephonic status/case

management conference is CANCELLED. The next scheduled telephonic status/case management

conference is August 21, 2019, at 10:00 a.m. See Fourth Modified Case Management Order,

Docket No. 56 at ¶5.     However, any party may request or the Court may set a status/case

management conference as needed. Further, the parties are reminded that, should a plea agreement

be reached for the pending criminal charges against Defendant Candelario Castillo, the parties

must promptly notify the Court, and by no later than thirty (30) days, obtain a date for a

telephonic status/case management conference to discuss amendment of the scheduling order

deadlines, and, if appropriate, rescheduling of the trial. Id. at ¶10. Although not specifically

addressed previously, the Court also adds the clarification that if Defendant Castillo’s criminal




     Case 1:16-cv-00061 Document 58 Filed 08/21/18 Page 1 of 2 PageID #: 233
trial is reset or occurs before the currently anticipated schedule of March or April of 2019, the

parties must similarly notify the Court by promptly requesting a status conference.

       It is SO ORDERED.




                                             _________________________________________
                                             BARBARA D. HOLMES
                                             United States Magistrate Judge




    Case 1:16-cv-00061 Document 58 Filed 08/21/18 Page 2 of 2 PageID #: 234
